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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                          FORT WORTH DIVISION



KRS PROPERTIES, LLC AND WEST  §
WHARTON HOSPITAL DISTRICT     §
                              §
V.                            §                    CASE NO. 4:24-CV-00337
                              §
UNITED STATES DEPARTMENT OF §
HEALTH & HUMAN SERVICES,      §
CENTERS FOR MEDICARE &        §
MEDICAID SERVICES, THROUGH    §
ITS SECRETARY, XAVIER BECERRA §


              PLAINTIFF’S ORIGINAL COMPLAINT AND
       APPLICATION FOR INJUNCTION AND RESTRAINING ORDER

TO THE HONORABLE COURT:

       Pursuant to Fed. R. Civ. P. 65, Plaintiffs, KRS Properties, LLC (“KRS”) and West

Wharton Hospital District (“WWHD”), file their Original Complaint and Application for

Injunction and Restraining Order. Plaintiffs would show that:

                                           I.

                                 NATURE OF CASE

       1.     This is an action for temporary restraining order and for an injunction,

asking this Court to direct the United States Department of Health & Human Services

(“HHS”) and the Centers for Medicare and Medicaid Services (“CMS”) to refrain from

terminating the Medicare/Medicaid agreement for Remarkable Health Care of Fort Worth

(“Remarkable”), which is set to occur on April 18, 2024.          Plaintiff will show that

termination on April 18 is not in the best interest of the facility’s residents; that the

potential termination is causing undue stress for facility residents; and that the



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termination should be delayed until such time as a Change of Ownership (“CHOW”),

which was formally requested on March 1, 2024, can be completed. Plaintiff will show

that the termination date of April 18 is not legally warranted; there is no agency review

for this type of action; and Plaintiff and its residents will suffer irreparable injury and loss

if HHS and CMS are not enjoined from further illegal or unjustified acts.

                                              II.

                                          PARTIES

        2.      Plaintiff, KRS Properties, LLC, is a property management company

headquartered in Fort Smith, Arkansas. KRS is the leaseholder/landlord of Remarkable

and has been since 2022 (Ex. 2).

        3.      Plaintiff, West Wharton Hospital District (“WWHD”), is a hospital

district, which holds licenses for 32 nursing facilities and skilled nursing facilities

throughout Texas. WWHD is the current license holder for Remarkable (Ex. 10).

        4.      Defendant, United States Department of Health & Human Services

(“HHS”) is the governmental agency that administers the Medicare program, and which

reimburses the State of Texas for payments made to nursing facilities under the State’s

Medicaid Program. The Centers for Medicare and Medicaid Services (“CMS”) is the

branch of HHS that oversees the Medicare and Medicaid program administration on

behalf of HHS, and which has ultimate responsibility for the enforcement action at issue

in this proceeding. Both HHS and CMS may be served by serving the United States

Department of Health & Human Services Secretary, Xavier Becerra, at 200 Independence

Avenue S.W., Washington, D.C. 20201, as well as United States Attorney General,

Merrick Garland, United States Department of Justice, 950 Pennsylvania Avenue N.W.,




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Washington, D.C. 20530. Service on Mr. Garland and Mr. Becerra is requested at this

time.

        5.     Further, pursuant to Fed. R. Civ. P. 4, since this action involves an agency

of the United States government, service should also be directed to the Chief United

States Attorney for the Northern District of Texas, Leigha Simonton, 1100 Commerce

Street, Third Floor, Dallas, TX 75242-1699, as well as Gerardo Ortiz, Division Director

of CMS’ Survey and Operations Group, 1301 Young Street, Room 106-900, Dallas, TX

75202. Service on Ms. Simonton and Mr. Ortiz is requested at this time.

                                            III.

                                     JURISDICTION

        6.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331

(federal question jurisdiction) because the dispute arises under the Constitution, laws and

treaties of the United States, specifically the federal Social Security and Medicare Acts,

as well as the due process clauses of the U.S. Constitution.

        7.     This Court also has jurisdiction pursuant to 28 U.S.C. 1331 because

agency review procedures do not provide for review of the agency action in question.

                                            IV.

                                         VENUE

        8.     Pursuant to 28 U.S.C. § 1391(e), venue is proper in the Northern District

of Texas, Fort Worth Division, because Remarkable (the nursing facility at issue in the

underlying facts/claims) conducts its business pursuant to its provider agreement with

CMS and HHS in Fort Worth and because both CMS and HHS contract with nursing

facilities to reimburse for services to residents in Fort Worth. All or a substantial part of




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the events giving rise to this claim arose in Fort Worth since the enforcement action that

is the subject of this case is taking place in Fort Worth.

                                              V.

                                 BACKGROUND FACTS

       9.      As outlined above, Remarkable is a skilled nursing facility (nursing home)

licensed by the Texas Health & Human Services Commission (“HHSC”) located in Fort

Worth, Texas. Remarkable is licensed and certified to participate in both the State

Medicaid program and the Federal Medicare program. Remarkable’s residents depend

heavily on Medicare and Medicaid funding, as these programs provide the primary payor

source for many of the residents at the facility.

       10.     As of 3/1/24, papers were filed with HHSC to change ownership of

Remarkable from Lori Beth and Jon McPike (the “McPikes”) to WWHD under the Texas

Quality Incentive Payment Program (“QIPP”) (Ex. 10). QIPP facilities, which receive

more favorable reimbursement than non-QIPP homes, must meet certain quality

standards set forth by HHSC in order to participate in this program. When facilities

participate in QIPP, the facility partners with a local hospital district to effectuate the

QIPP program. Under QIPP, the hospital is the license holder (approved by the State of

Texas), but the day to day operations of the nursing home are conducted by nursing home

staff, not the hospital district (Ex. 10). In this case, Remarkable’s QIPP partner is

WWHD, but its day to day operations relevant to the enforcement action in question were

conducted by the McPikes.

       10.     With respect to KRS, this entity is a property management company which

purchased the building where Remarkable operates in 2022 (Ex. 2).             When KRS




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purchased this property, it also acquired an interest in the facility’s license (Ex. 2). 1 KRS

also assumed and was assigned the rights to a 20-year lease, which the McPikes entered

in 2010 with their prior landlord (Ex. 2). Under the existing lease, the McPikes had been

operating Remarkable since 2010 (Ex. 2). Since at least the Fall of 2023, KRS has been

attempting to remove the McPikes as operator (for a variety of reasons including failure

to pay rent, failure to honor the terms of the lease agreement, and concerns regarding the

quality of care being provided at the facility). KRS’ plan was to lease the facility to a

new operator who could improve the quality of care provided at the facility.

         11.     Unfortunately, the McPikes filed for bankruptcy multiple times during late

2023-early 2024. As such, any action against the McPikes by KRS (including an action

to terminate their lease and install a new operator) was subject to the bankruptcy

automatic stay.2      Just within the last few weeks, KRS obtained an order from the

bankruptcy court to lift the stay to allow it to proceed with terminating the McPikes’

lease and installing a new operator. Multiple hearings regarding KRS’ efforts in this

regard have been held before the bankruptcy court.                HHS and CMS have had full

knowledge of these proceedings via presence of their counsel during the bankruptcy

hearings. To say that there is “a lot of water under the bridge” in the bankruptcy

proceedings is an understatement.


1
  As will be discussed in more detail below, KRS acquiring an interest in Remarkable’s license gives KRS
standing in this case as a third-party beneficiary of the Medicare and Medicaid contracts between HHSC,
CMS, and the facility. As the current/prospective license holder under the CHOW, WWHD is also a third-
party beneficiary under these agreements (Ex. 10). More specifically, under the CHOW, WWHD will be
accepting an assignment of the current Medicare/Medicaid provider agreement, so termination of that
agreement unquestionably affects WWHD’s rights.
2
  Had the McPikes not filed for bankruptcy, the underlying dispute between Remarkable and CMS would
have never occurred because the McPikes would have been replaced as operators last year, and as will be
discussed below, it is unlikely that the new proposed operator (Pure Health) would have encountered the
same regulatory challenges as the McPikes (Ex. 4).


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       12.      While the bankruptcy proceedings were pending, and while KRS was

attempting to get permission to replace the McPikes, Remarkable underwent two state

surveys – one in January 2024 and a follow-up in February 2024. As a licensed nursing

facility, Remarkable is required to comply with various State and Federal regulations and

statutes. To ensure compliance with these regulations, HHSC employs surveyors to

conduct periodic inspections. Although these surveys are conducted by HHSC, they are

conducted on behalf of both HHSC (which administers the Medicaid program) and CMS

(which administers the Medicare program). At the conclusion of the surveys, HHSC

determines whether deficiencies (meaning noncompliance with statutes/regulations)

should be cited. If a deficiency is cited, it is assigned a “level,” as well as a “scope and

severity” (Ex. 6). The “levels” range from 1 to 4 (with 4 being the most severe) and the

“scope and severity” can range from A to L (with L being the most severe) (Ex. 6).

Following standard annual nursing home inspections, many facilities receive deficiencies

due to the way in which the surveys are conducted. The question then becomes how

severe the deficiencies are and at what level they are cited.

       13.      According to the State Operations Manual, Level 1 deficiencies

encompass scope and severity levels A, B, and C, which are actually considered to be in

“substantial compliance” with the licensing regulations (Ex. 6). No enforcement action

(monetary fines, withholding payment of funds, etc.) can be imposed for Level 1

deficiencies.

       14.      Level 2 deficiencies encompass scope and severity levels D, E, and F (Ex.

6). When a facility is cited for a Level 2 deficiency, it means the facility is technically in




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violation of a licensing requirement, but the “violation” has not and is not likely to cause

any of the residents harm (Ex. 6).

        15.     Level 3 deficiencies encompass scope and severity levels G, H, and I (Ex.

B). When a facility is cited for a Level 3 deficiency, it means that a licensing violation

has resulted in “actual harm” to the resident, but that harm has not placed the resident in

immediate peril or jeopardy (Ex. 6).

        16.     Level 4 deficiencies encompass scope and severity levels J, K, and L (Ex.

6). These are the most serious deficiencies a facility may receive. Citation of a Level 4

deficiency means the facility’s noncompliance could place one or more residents in

“immediate jeopardy” (“IJ”) of serious bodily injury if the harm is not immediately

remedied (Ex. 6). If an IJ situation is declared during a survey, the survey does not

conclude until the immediate threat has been completely removed.

        17.     When HHSC cites deficiencies, the agency has the option of imposing

enforcement action itself or referring the matter to CMS for imposition of enforcement

remedies, ranging from monetary fines, to denial of payment for new admissions, to

termination of the facility’s Medicare and/or Medicaid provider agreements, and, if the

deficiencies are severe enough, HHSC and/or CMS can recommend closure of the facility

and loss of the facility’s license to operate. See 42 CFR §§ 488.406(a)(4)(5) and

(b)(5)(6).    With the exception of monetary fines, most enforcement actions do not begin

until the facility has had at least one opportunity to “correct” or “clear” the cited

deficiencies on a follow-up survey.

        18.     As outlined above, on January 29, 2024, HHSC completed a survey at

Remarkable and cited one Level G, one Level E, and one Level D deficiency (Ex. 1).




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CMS did not initially impose any penalties at all related to the January 29 survey (Ex. 1).

Then, on February 12, 2024, a second survey was completed, this time resulting in 3

citations at the IJ level (one Level J and two Level Ks) (Ex. 1). Again, any time an IJ

situation is identified during a survey, the survey does not end until the immediate threat

is removed via a facility plan of removal which must be approved by the program

manager for the HHSC region conducting the survey. As such, it is undisputed that any

immediate threat that may have existed during the February 12 survey was removed

before the surveyors exited.

         19.     While these surveys were occurring, KRS was working diligently to

terminate the McPikes’ lease so that a new operator could be hired (Ex. 4). As outlined

above, it was only a few weeks ago that the bankruptcy court lifted the automatic stay,

which will now allow that to occur (Ex. 4). HHS and CMS lawyers participated in the

bankruptcy hearings and interacted with KRS bankruptcy counsel in both recent

bankruptcy cases. As such, HHS and CMS knew that KRS was working to terminate the

McPikes’ lease and to install a new operator as soon as possible (Ex. 4).

         20.     Despite knowing that change of ownership documents had been submitted

to HHSC (turning over the license to WWHD) on 3/1/24, and despite knowing KRS was

working to place a new operator in Remarkable, on April 3, 2024 without notice to either

WWHD or KRS, CMS notified Remarkable that it planned to terminate the facility’s

provider agreement on April 18, 2024 (Ex. 1).3 WWHD and KRS did not learn about the

proposed April 18 termination until learning about it from a third-party on the evening of


3
  The April 3, 2024 CMS letter was sent only to the facility address (Ex. 1). WWHD, as the current (albeit
temporary) license holder and entity which would be assuming the provider agreement under the CHOW
did not receive notice until the CMS letter was forwarded to WWHD by KRS’ counsel after KRS received
it approximately one week later.


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April 10, 20204. On April 10, also without notice to WWHD or KRS, HHSC surveyors

(apparently acting on behalf of the state and CMS) reportedly arrived at Remarkable and

instructed the facility that it had to close on April 18 (due to termination of the provider

agreement) and that the facility had to tell all of the residents they had to move (Ex. 5,

11). As will be discussed below, notwithstanding that Remarkable is not required to

close just because its provider agreement is terminated, the termination/relocation news

has caused undue emotional stress and harm to the facility residents (Ex. 5, 11).

       21.     KRS and WWHD have tried everything in their power short of filing this

action to resolve the termination issue, but to no avail.       CMS counsel advised the

undersigned counsel on the morning of April 12, 2024 that CMS was unwilling to reach

any agreement to extend the termination deadline. This was after CMS counsel refused

to identify or to add to two lengthy video conference calls on 4/11/24 the CMS officials

responsible for making the termination decisions. As such, KRS and WWHD have been

left with no option other to bring this lawsuit seeking extraordinary relief for which

neither State nor Federal agencies provide an avenue of appeal.

                                            VI.

  FAST TRACK PROVIDER AGREEMENT TERMINATION IS NOT IN THE
  RESIDENTS’ BEST INTEREST OR IN ACCORDANCE WITH CMS POLICY


       22.     Due process rights attach when enforcement action is taken against

nursing facilities or those in contractual privy with them.          When CMS notified

Remarkable on April 3 that its provider agreement was being terminated on April 18, it

offered the facility only the option to appeal the underlying findings of noncompliance

that led to the proposed termination (but not the termination itself), and the appeal




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deadline for the alleged noncompliance is not until June 2, 2024 (Ex. 1). It is nonsensical

to offer appeal rights related to remedies arising out of an enforcement action, but yet

take the proposed enforcement action nearly two months prior to the appeal date and

certainly well in advance of any resolution of the underlying deficiencies.

       23.     Further, even if the above discrepancy between the appeal date and the

date for termination did not exist, CMS still should not be allowed to terminate

Remarkable’s provider agreement on April 18 because proper notice was not provided.

42 CFR § 488.456(c)(2) specifically states that if a facility’s provider agreement is going

to be terminated, proper notice must be provided by both CMS and the State – to both the

facility and to the public. To date, Remarkable has not been provided written notice of

termination by the state. KRS and WWHD have likewise not been provided any such

notice. This is significant, and is not a failure that can be overlooked, because the

Medicaid provider agreement belongs to the state, while the federal agreement (regarding

Medicare) belongs to CMS/HHS.

       24.     Similarly, neither HHSC nor CMS have the authority to engage in conduct

such as telling residents Remarkable is closing or that they have to move. If Remarkable

loses its provider agreement, at most that means the facility cannot bill for residents who

receive Medicare or Medicaid funds. It does not mean private pay residents or residents

with private long term care insurance cannot remain at the facility. It also does not mean

that the owner/operator of Remarkable cannot reach agreements with its residents to

remain at the facility while the new operator attempts to get the provider agreement

reinstated/termination issues resolved. The discharge/transfer provisions of the Social

Security Act (which supersede any agency rule or regulation) do not list termination of a




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facility’s provider agreement as a basis for transferring/discharging a resident. Instead,

the Social Security Act states that a resident may require transfer if the facility is closed.

See 42 U.S.C. § 1819(c)(2)(A)(6). Even HHSC representatives confirmed, contrary to

what their surveyors and CMS’ agents advised the facility, that Remarkable had not been

and was not being closed by the state (Ex. 5).

       25.     Finally, CMS’ policy, even in cases where IJ citations are present, is to

allow facilities at least 6 months from the survey date prior to proposed termination (Ex.

7). Exhibit 7 contains 38 CMS notice letters in KRS counsel’s active cases in which IJ

citations were present (some also in Special Focus Facilities which require more recent

surveys due to poor compliance histories). None of these letters reference a 15-day

proposed termination period as was issued here (Ex. 7). To allow CMS to arbitrarily

impose 15-day “fast track” termination in one case, while failing to do it in similar cases

results in an arbitrary, capricious enforcement process that does not benefit anyone,

especially not the residents whom the survey process is allegedly designed to protect (Ex.

11).

       26.     KRS, WWHD, and their counsel are cognizant of the general rule that

requires facilities to challenge agency findings (and related enforcement actions)

regarding Medicare/Medicaid through agency channels. However, the United States

Supreme Court recognizes that judicial review is available if agency review procedures

preclude or do not provide for review of the agency action in question. See Shalala v.

Illinois Council on Long Term Care, Inc., 529 U.S. 1, 19-20 (2000) (citing Bowen v.

Michigan Academy of Family Physicians, 476 U.S. 667 (1986)); see also Temporary

Restraining Order entered by Hon. Robert Junell in Case No. 10-CV-103 (U.S. District




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Court for the Western District of Texas), Manor Park, Inc. v. U.S. Department of Health

& Human Services (Ex. 9).       In the present case, the CMS notice letter regarding

termination of the provider agreement states that Remarkable is entitled to appeal

(through agency channels) the findings of noncompliance which led to the proposed

enforcement action (which Remarkable will do), but CMS explains that Remarkable

cannot appeal the enforcement action (termination of the provider agreement) itself

(Ex. 1 p. 2). Therefore, Remarkable falls into the judicial review exceptions created by

Illinois Council and Michigan Academy, just as Judge Junell properly recognized in the

Manor Park case regarding the denial of payment remedy.

                                          VII.

                     REQUEST FOR DECLARATORY RELIEF

       27.     Pursuant to Fed. R. Civ. P. 57 and 28 U.S.C. § 2201, KRS and WWHD

ask this Court to declare their rights under the statutes and regulations contained in the

Medicare and Social Security Acts, as well as under the Due Process Clauses of the U.S.

Constitution in terms of the notice required for a federal regulatory enforcement action

and circumstances under which fast track termination is warranted. KRS and WWHD

also ask this Court to impose an equitable award of attorneys’ fees to compensate KRS

and WWHD for having to prosecute this action and to deter HHS and CMS from

imposing unauthorized, arbitrary enforcement actions in the future.

                                          VIII.

             IRREPARABLE HARM IF ACTIONS NOT RESTRAINED

       28.     Remarkable (along with KRS and WWHD) and its residents have suffered

and will continue to suffer irreparable harm if CMS and HHS’ illegal actions are not




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restrained (Ex. 11). Remarkable depends heavily on Medicare and Medicaid funding as a

payor source for its residents (Ex. 4, 11). Without Medicare and Medicaid funding, it

will be difficult for many residents to be able to get the care which they desparately need

(Ex. 4, 11). As each day passes, and such payments are disallowed, this endangers the

safety and well-being of residents who need care that they cannot otherwise afford or

obtain (Ex. 11).   Further, many of the residents in question require specialized skilled

services that, according to Remarkable’s attorney, are not available at other facilities in

the Fort Worth area (Ex. 8, 11).

       29.     More specifically, Remarkable services nine large hospitals who discharge

a high quantity of patients needing skilled nursing care each month (Ex. 8). Therefore,

both the community of Fort Worth—which, according to the Texas Demographic Center,

has a population of 967,457—and the government need this Facility to remain open (Ex.

8).

       30.     Remarkable accepts higher acuity patients (patients whose condition is

severe and imminently dangerous) than many other nursing homes, including being the

only facility in Fort Worth that accepts patients with candidas auris, a fungal “super bug”

which may accompany nursing home residents who admit directly from hospitals (Ex. 8).

This Facility is also one of the very few that accepts geriatric-psychiatric patients—these

patients, specifically, have been kicked out of and/or denied by other facilities due to the

erratic and hard-to-manage behaviors associated with dementia and late-life depression

and psychosis (Ex. 8). The Fort Worth Facility has successfully managed these geri-

psych patients’ behaviors, focusing on each person’s individual needs, resulting in them

thriving under Remarkable’s care, according to their attorney (Ex. 8). The City of Fort




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Worth needs this Facility to stay open to treat, care for, and rehabilitate these high acuity

and high risk patients and residents (Ex. 8, 11).

       31.       Moving residents into and between nursing homes is a traumatic

phenomenon, which frequently results in a condition known as Relocation Stress

Syndrome/Transfer Trauma, or “RSS” (Ex. 3, 11).             According to the Journal of

Psychosocial Nursing and Mental Health Services and the National Institutes of Health,

seniors with anxiety, pain, PTSD, and general health problems, as well as those with pre-

existing health conditions are prone to RSS (Ex. 3). RSS commonly results in the

following psychological complications:

             •   Anger;

             •   Anxiety;

             •   Apprehension;

             •   Confusion;

             •   Hopelessness;

             •   Dependency;

             •   Depression;

             •   Insecurity;

             •   Loneliness; and

             •   Withdrawal.

(Ex. 3). RSS also frequently causes the following physiological problems in addition to

the psychological problems outlined above:

             •   Body aches;

             •   Falls;



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             •   Headaches;

             •   Stomach problems; and

             •   Unhealthy weight change.

(Ex. 3).     Studies have also shown that transfer trauma is further magnified or

compounded for individuals with dementia, which is a diagnosis for a large part of

Remarkable’s population (Ex. 3; see also Ex. 11 affidavit from Larry McAfee regarding

his wife, Sarah McAfee). In a study conducted in 2023, AARP found that half of the

residents involuntarily transferred from a small nursing home in Virginia were dead in

less than a year (Ex. 3)

       32.       As applied in this case, this court need look no further than the April 11,

2024 media story which aired on Fort Worth affiliate WFAA regarding the proposed

termination at Remarkable (Ex. 5). Remarkable resident, Nona Taggart, who agreed to

be interviewed on air for the WFAA story, epitomizes the symptoms of transfer trauma,

or RSS, from which she is already suffering (Ex. 5, 11). Ms. Taggart explained that

Remarkable is her home (Ex. 5, 11). Despite some of the facility’s regulatory challenges,

the staff are her family, and she is depressed/heartbroken about possibly having to move

(Ex. 5, 11). Allowing CMS to proceed with the proposed termination on April 18,

instead of extending it for a few months to allow Remarkable’s new management to “turn

the facility around” will cause residents like Nona Taggart to suffer irreparable harm (Ex.

11). The same is true for the other facility residents, a sampling of whom have signed

affidavits detailing the irreparable harm that they will suffer if CMS’ proposed action

goes forward (Ex. 11).        Therefore, in order to prevent further irreparable harm to

Remarkable and its residents, Remarkable asks this Court to enjoin HHS and CMS from




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implementing unlawful, unjustified enforcement actions such as the Medicare/Medicaid

provider agreement termination proposed here.

                                           IX.

                                    CONCLUSION

       33.     KRS and WWHD recognize that agencies like CMS and HHS serve an

important public function -- providing regulatory oversight for nursing homes which care

for one of the most vulnerable segments of our population. To that end, KRS and

WWHD strive to partner with operators and entities that provide quality care to its

residents. These entities have been trying for months to install an operator that can

permanently correct the regulatory issues that may have existed at Remarkable. Their

efforts, however, were thwarted until just recently by the bankruptcy proceedings. Both

HHS and CMS are well aware of the efforts expended by KRS and WWHD, and they

know the caliber of operator (in Pure Health) that KRS has made arrangements to install.

Nevertheless, without any justification, CMS/HHS have refused to work with KRS and

WWHD to extend the termination date to allow for completion of the CHOW/ownership

change process. The proposed April 18, 2024 fast track provider agreement termination

does not serve any legitimate public interest, and it potentially will cause irreparable

harm to Plaintiffs, as well as to Remarkable’s residents like Nona Taggart and the others

outlined in Exhibit 11. There are no outstanding deficiencies at the immediate jeopardy

level, and there is no current immediate threat to any of Remarkable’s residents.

Extending the termination period (which is not legal for the reasons outlined above) until

the nursing home and its new operator (which was installed one day ago) have had the

opportunity to assume full ownership and operational control to steer this facility back on




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track will not harm any resident, and it will not harm CMS. Conversely, cutting off the

facility’s ability to operate will do harm that cannot be repaired. It is not CMS’ policy to

issue 15-day termination directives, even in cases with IJ citations, and no such directive

should have been issued here, particularly since the state survey agency did not provide

Remarkable or its license holders with the notice required by law. There is no state or

federal administrative agency appeal that affords the ability to even ask for the relief

sought here, and the April 3, 2024 CMS notice letter confirms this. Consequently, this

court should grant the extraordinary relief sought in this Complaint.



        WHEREFORE, PREMISES CONSIDERED, Plaintiffs, KRS and WWHD, pray

this Court will grant a temporary restraining order prohibiting HHS, CMS, and any party

in concert with them (including but not limited to HHSC) from terminating Remarkable’s

Medicare and/or Medicaid provider agreement on April 18, 2024. Plaintiff also prays

that to the extent Plaintiffs’ request for relief cannot be heard prior to April 18, the Court

will order Remarkable’s Medicare and Medicaid provider agreement reinstated as of the

date of termination. Plaintiffs pray that this Court will set Plaintiffs’ injunctive relief

request for hearing, and after hearing, enjoin HHS and CMS from the acts set forth

above. Plaintiffs also pray for all such other and further relief (including attorneys’ fees

and court costs), general or special, legal or equitable, to which they may be justly

entitled.




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                                         Respectfully submitted,

                                         BEST & SPRUILL, P.C.


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                                         ZUBER, P.C.

                                                 /s/ Jeff Carruth___________
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                                                   COUNSEL FOR WEST
                                                   WHARTON HOSPITAL DISTRICT


        CERTIFICATE OF CONFERENCE AND ATTEMPTED NOTICE

        I hereby certify that pursuant to Fed. R. Civ. P. 65(b)(1)(B), Plaintiffs have
attempted to reach resolution with CMS regarding this matter without court intervention.
Specifically, on April 11, 2024 there were two conference calls with 17 individuals
representing all parties in which the matters contained in this pleading were discussed.
No resolution was achieved, and on 4/12/24, Counsel for HHS notified the undersigned
counsel that no agreement would be reached. Counsel for CMS/HHS are being provided
courtesy copies of this pleading at the time it is filed, although KRS and WWHD do not
know whether the lawyers with whom they have been dealing are the lawyers who will
represent CMS/HHS in this proceeding. CMS/HHS Counsel were advised on 4/11/24
that injunctive relief could be sought if a resolution was not reached.


                                                   ____/s/ Allison L. Spruill_________
                                                   ALLISON L. SPRUILL


                            CERTIFICATE OF SERVICE


       I certify that a true and correct courtesy copy of this pleading was served in
accordance with the Federal Rules of Civil Procedure via electronic mail on this 17th day
of April, 2024, as follows (even though Plaintiffs do not know whether counsel listed
below will represent HHS/CMS in this proceeding):


Whitney Tharpe (U.S. Attorney’s office)
Counsel for HHS/CMS

                                                   ____/s/ Allison L. Spruill_________
                                                   ALLISON L. SPRUILL




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